
Douglass and Nicholas, J.
dissented from both the
foregoing opinions, and from the judgment of the court, which was as’follows—
This court is of opinion, and doth decide,
First, That if a particeps criminis, on the trial of one of the parties to the crime, called as a witness on the part of the commonwealth, voluntarily give evidence, and fully, candidly and impartially disclose all the circumstances attending the transaction, as well those which involve his own guilt as those which involve the guilt of others, he will yet have no right, which a court of law will recognize, to a pardon for his own guilt, and therefore he will have no right to demand from the court a continuance of his cause, until he can have an opportunity to apply to the executive for such pardon.
Secondly, That the court ought in this case to overrule the motion.
